 1 Martha G. Bronitsky
     Chapter 13 Standing Trustee
 2 6140 Stoneridge Mall Rd #250
     Pleasanton,CA 94588-4588
 3
     (925) 621- 1900
 4
     Trustee for Debtor(s)
 5

 6                                UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
 7
     In Re
 8        Mario Roberto Juarez                            Chapter 13 Case Number:
                                                          13-40355-RLE13
 9                            Debtor(s)
10         MOTION TO DISMISS CHAPTER 13 CASE FOR FAILURE TO MAKE PLAN
                                      PAYMENTS
11 TO THE DEBTOR(S): YOU ARE BEHIND ON YOUR CHAPTER 13 PAYMENTS AND YOUR

12 CASE WILL BE DISMISSED UNLESS YOUR DEFAULT IS CURED! YOU MUST TAKE

13 ACTION WITHIN 21 DAYS OF THE DATE LISTED BELOW!

14 YOU ARE HEREBY NOTIFIED that the Chapter 13 Trustee’s records show that you have not made all

15 the payments required by your confirmed Chapter 13 Plan.

16 1. YOU ARE IN DEFAULT UNDER YOUR CHAPTER 13 PLAN.

17       As of April 04, 2014 you should have paid a total of $50,600.00 to the Chapter 13 Trustee. According
18 to the Trustee’s records, you are in default in the amount of $7020.00 . The default amount includes the

19 current's month payment. The default amount does not include any payments which have been suspended.

20 Suspended payments may not bind creditors. Payments must be current until this Motion is resolved.

21 2. In order to continue to receive protection of the United States Bankruptcy Court :

22       a. YOU MUST bring the case current by paying in certified funds to the Trustee in the amount of
23 $7,020.00 within 21 days of the date of this notice; OR

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         b. YOU MUST meet and confer with the Trustee by contacting the Client Services Department AND
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     sign a Stipulation (agreement) describing how you will cure default in a manner which is acceptable to the
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     Trustee. Such meeting shall be held at the office of the Trustee, at the address listed above, and shall be by
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28
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 1 appointment only; OR

 2      c. YOU MUST contact your attorney immediately. Your attorney may apply to modify the plan or

 3 advise you of any other legal options. This must be done within 21 days of this notice.

 4 3. Unless you pay the default amount, stipulate to cure the default or file an Application to Modify plan, as

 5 provided in paragraph 2 above, twenty-one (21) days from the date of this notice, YOUR CASE SHALL

 6 BE IMMEDIATELY DISMISSED WITHOUT ANY FURTHER NOTICE OR HEARING.

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     Dated: April 04, 2014                            /s/ Martha G. Bronitsky
 8                                                    Signature of Martha G. Bronitsky
                                                      Chapter 13 Standing Trustee
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 1   In re                                              Chapter 13 Case No.
             Mario Roberto Juarez                       13-40355-RLE13
 2                               debtor(s)
                                    CERTIFICATE OF SERVICE
 3

 4 I HEREBY CERTIFY that I have served a copy of the within and foregoing document on the
   debtor (s), counsel for debtor (s), and if applicable, the creditor, creditor representatives and
 5 the registered agent for the creditor by depositing it in the United States mail with first class
   postage attached thereto.
 6

 7   I declare under penalty of perjury under the laws of the State of California that the foregoing is
     true and correct.
 8
     Mario Roberto Juarez                            Sally J Elkington Atty
 9
     1241 High Street                                409 - 13Th Street 10Th Fl
     Oakland,CA 94601                                Oakland,CA 94612
10

11   (Debtor(s))                                     (Counsel for Debtor)

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14
     Date: April 04, 2014                              /s/ CHRISTIE ACOSTA
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                                                       CHRISTIE ACOSTA
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